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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,                       Case Number: 99-80714-1

v.                                                     JUDGE PAUL D. BORMAN
                                                       MAG. JUDGE STEVEN D. PEPE
ROBERT DOWER,                                          UNITED STATES DISTRICT COURT

                  Defendant.
___________________________________ /


            ORDER ACCEPTING MAGISTRATE JUDGE’S REPORT AND
           RECOMMENDATION IN FAVOR OF DENYING DEFENDANT’S
                     MOTION FOR RECONSIDERATION

       Before the Court is the Magistrate Judge’s Report and Recommendation in favor of

denying Defendant’s Motion for Reconsideration. Having reviewed that Report and

Recommendation, Plaintiff’s objections thereto, and Defendant’s response to those objections,

the Court enters as its findings and conclusions the Report and Recommendation denying

Defendant’s Motion for Reconsideration.

       SO ORDERED.



                                            s/Paul D. Borman
                                            PAUL D. BORMAN
                                            UNITED STATES DISTRICT JUDGE

Dated: January 20, 2006

                                   CERTIFICATE OF SERVICE

Copies of this Order were served on the attorneys of record by electronic means or U.S. Mail on
January 20, 2006.


                                            s/Jonie Parker
                                            Case Manager


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